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 5
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 6

 7
                      IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10
      MICHAEL SCOFIELD, individually               Case No.
11    and on behalf of all others similarly
      situated,                                    CLASS ACTION COMPLAINT
12

13                  Plaintiff,                     DEMAND FOR JURY TRIAL
14
      v.
15
      BANKROLL CAPITAL INC., a
16
      California corporation, and AMERICAN
17    BUSINESS SERVICES INC., a
      Colorado corporation,
18

19                  Defendants.
20

21
            Plaintiff Michael Scofield (“Plaintiff” or “Scofield”) brings this Class Action
22

23   Complaint and Demand for Jury Trial against Defendant American Business
24
     Services Inc. (“Defendant” or “American Business Services”) and Defendant
25

26
     Bankroll Capital, Inc., (“Defendant” or “Bankroll”) and to stop the Defendants from

27   violating the Telephone Consumer Protection Act (“TCPA”) and the Florida
28
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 1   Telephone Solicitation Act (“FTSA”) by sending telemarketing text messages
 2   without consent to consumers who registered their phone numbers on the National
 3
     Do Not Call registry (“DNC”). Plaintiff also seeks injunctive and monetary relief for
 4

 5   all persons injured by Defendants’ conduct. Plaintiff, for this Complaint, alleges as
 6   follows upon personal knowledge as to himself and his own acts and experiences,
 7
     and, as to all other matters, upon information and belief, including investigation
 8
 9   conducted by his attorneys.
10
                                          PARTIES
11
            1.    Plaintiff Michael Scofield is a resident of Port Saint Lucie, Florida.
12

13          2.    Defendant Bankroll Capital, Inc., is a California corporation with its
14
     principal place of business in Irvine, California. Defendant Bankroll conducts
15
     business throughout this District, California, and the U.S.
16

17          3.    Defendant American Business Services Inc. is a Colorado corporation
18
     with its principal place of business in Denver, Colorado. Defendant American
19
     Business Services conducts business throughout this District, California, and the
20

21   U.S.
22
                              JURISDICTION AND VENUE
23
            4.    This Court has federal question jurisdiction over the TCPA claim
24

25   pursuant to 28 U.S.C. § 1331, as the action arises under the Telephone Consumer
26
     Protection Act, 47 U.S.C. §227 (“TCPA”). The Court has supplemental jurisdiction
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 1   over the FTSA claims, as they arise out of the same telemarketing campaign as the
 2   TCPA claim.
 3
           5.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant
 4

 5   Bankroll directed the calls at issue to Plaintiff from this District.
 6         6.     This Court has personal jurisdiction over the Defendants and the venue
 7
     is proper under 28 U.S.C. § 1391(b) because Defendants conduct business in this
 8
 9   District and the conduct leading to this case was directed to the Plaintiff and other
10
     members of the Classes from this District.
11
                                       INTRODUCTION
12

13          7.    As the Supreme Court recently explained, “Americans passionately
14
     disagree about many things. But they are largely united in their disdain for robocalls.
15
     The Federal Government receives a staggering number of complaints about
16

17   robocalls—3.7 million complaints in 2019 alone. The States likewise field a constant
18
     barrage of complaints. For nearly 30 years, the people’s representatives in Congress
19
     have been fighting back.” Barr v. Am. Ass'n of Political Consultants, No. 19-631,
20

21   2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).
22
           8.     The National Do Not Call Registry allows consumers to register their
23
     telephone numbers and thereby indicate their desire not to receive telephone
24

25   solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).
26

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 1              9.      A listing on the Registry “must be honored indefinitely, or until the
 2   registration is cancelled by the consumer or the telephone number is removed by the
 3
     database administrator.” Id.
 4

 5              10.     Industry data shows that the number of robocalls made each month
 6   increased from 831 million in September 2015 to 4.7 billion in December 2018—a
 7
     466% increase in three years.
 8
 9              11.     According to online robocall tracking service “YouMail,” 4.3 billion
10
     robocalls were placed in June 2022 alone, at a rate of 144.3 million calls per day.
11
     www.robocallindex.com (last visited July 12, 2022).
12

13              12.     The FCC also has received an increasing number of complaints about
14
     unwanted calls, with over 150,000 complaints in 2020, and over 160,000 complaints
15
     in 2021. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-
16

17   center-data.
18
                13.     “Robocalls and telemarketing calls are currently the number one source
19
     of consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22,
20

21   2016), statement of FCC chairman. 1
22
                14.     “The FTC receives more complains about unwanted calls than all other
23
     complaints combined.” Staff of the Federal Trade Commission’s Bureau of
24

25   Consumer Protection, In re Rules and Regulations Implementing the Telephone
26

27   1
         https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
28
                                                                                            4
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 1   Consumer Protection Act of 1991, Notice of Proposed Rulemaking, CG Docket No.
 2   02-278, at 2 (2016). 2
 3
                                       COMMON ALLEGATIONS
 4

 5       Defendant Bankroll Generates Business Through Unsolicited Telemarketing
 6           15.     Defendant Bankroll provides a marketplace of financing solutions for
 7
     clients including business loans and lines of credit. 3
 8
 9           16.     Defendant Bankroll markets its financing solutions through a number
10
     of marketing methods including unsolicited telemarketing.
11
             17.     Defendant Bankroll’s employees have shared about their cold calling
12

13   experience, and their experience using automated calling software products, for
14
     instance:
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     2
       https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-consumer-protection-
     federal-communications-commission-rules-regulations/160616robocallscomment.pdf
     3
       https://bankroll.io/
27   4
       https://www.linkedin.com/in/mez-dick-9bb09b191/
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 7             18.     Defendant Bankroll hires employees for placing cold calls.
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18   Defendant Bankroll Operates Using Defendant American Business Services In
               Order to Avoid Liability For Unsolicited Telemarketing
19

20             19.     Defendant Bankroll also operates using the business name American

21   Business Services in order to avoid liability for its unsolicited telemarketing.
22

23

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     5
         https://www.glassdoor.com/Reviews/Bankroll-Reviews-E2557921.htm
27   6
         https://uvaro.com/jobs/j/D8V9dMPk/costa-mesa/ae
28
                                                                                        6
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 1             20.     Like Defendant Bankroll, Defendant American Business Services
 2   provides a marketplace of financing solutions for clients including business loans
 3
     and lines of credit. 7
 4

 5             21.     When dialing 740-895-1397, the phone number that Plaintiff was texted
 6   from, the voicemail of Kate Anderson is reached. The Kate Anderson voicemail
 7
     identifies 2 company names: American Business Services and Bankroll.
 8
 9             22.     Kate Anderon is identified online as a Loan Specialist for Defendant
10
     Bankroll:
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20
               23.     The Better Business Bureau page for American Business Services
21

22   shows that the customer contact is Ethan Phan, Operations Manager:
23

24

25

26
     7
         https://absloans.com/
27   8
         https://www.zoominfo.com/p/Kate-Anderson/6111785265
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                24.     Ethan Phan is also listed online as a Loan Specialist for Defendant
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     Bankroll:
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         https://www.bbb.org/us/co/denver/profile/small-business-loans/american-business-services-1296-90152774
27   10
          https://www.zoominfo.com/p/Ethan-Phan/3245189909
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 1              25.       Calling the phone number on Bankroll’s website: 833-600-0031, a live
 2   operator answers the call stating "American Business Service” and provides the
 3
     website absloans.com. The two companies use their names interchangeably.
 4

 5              26.       Furthermore, the phone number 833-600-0031 is listed as the main
 6   phone number on Bankroll.io’s website and is also listed as the phone number
 7
     associated with Defendant American Business Services on unlock.capital’s website.
 8
 9              27.       Both Bankroll and American Business Services list the same address as
10
     500 Technology Drive, Irvine, CA 92618. 11
11
                28.       Defendants, for their joint benefit, place telemarketing cold calls and
12

13   text messages to consumers to reach potential business owners to solicit their
14
     financing services to the consumers.
15
                29.       Defendants place telephonic sales calls, including solicitation text
16

17   messages, to hundreds if not thousands of consumers across the U.S., including to
18
     consumers whose phone numbers are registered on the National Do Not Call list,
19
     seeking information to solicit their financing services to consumers.
20

21              30.       Defendants willfully and intentionally refrain from identifying the
22
     name of the business on whose behalf the solicitation is made and the first and last
23
     name of the telephone solicitor who places the solicitation calls and text messages
24

25   to the consumers, as in the text messages received by Plaintiff.
26

27   11
          https://bankroll.io/contact/ and https://unlock.capital/application-agreement/
28
                                                                                               9
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 1           31.     Defendants use autodialing software tools, like FastCall softphone, to
 2   automate the process of sending solicitation text messages and cold calls to
 3
     consumers en masse. Multiple consumers have posted complaints online about
 4

 5   receiving unwanted solicitation calls from Defendant Bankroll and Defendant
 6   American Business Services, including complaints of receiving spam using the
 7
     phone numbers from which Plaintiff also received unsolicited text messages,
 8
 9   including:
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25   https://www.google.com/search?q=+%22American+Business+Services%22+Denver%2C+CO&rlz=1C5CHFA_enI
     N944IN944&ei=OTbMYunCIefIwbkP6PSfiAg&ved=0ahUKEwipw56ziPH4AhVnZDABHWj6B4EQ4dUDCA4&
26   uact=5&oq=+%22American+Business+Services%22+Denver%2C+CO&gs_lcp=Cgdnd3Mtd2l6EAMyBQgAEIAE
     SgQIQRgBSgQIRhgAUPMWWPMWYIoaaAFwAHgAgAH6AogB-
     gKSAQMzLTGYAQCgAQHAAQE&sclient=gws-wiz#lrd=0x876c7f14520c77e9:0x35bec1b8e20b36f7,1
27   13
        https://www.bbb.org/us/ca/irvine/profile/small-business-loans/bankroll-1126-1000057018/customer-reviews
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26   14
        Id.
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        Id.
27   16
        Id.
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26   17
        https://www.bbb.org/us/ca/irvine/profile/small-business-loans/bankroll-1126-1000057018/complaints
     18
        Id.
27   19
        Id.
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26   20
        https://directory.youmail.com/directory/phone/9496033952
     21
        Id.
27   22
        Id.
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     23
        Id.
     24
        Id.
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        Id.
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        Id.
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          https://directory.youmail.com/directory/phone/9496033963
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15              32.   In response to these calls and text messages, Plaintiff Scofield brings
16
     forward this case seeking injunctive relief requiring the Defendant to cease from
17
     violating the Telephone Consumer Protection Act and the Florida Telephone
18

19   Solicitation Act, as well as an award of statutory damages to the members of the
20
     Classes and costs.
21

22
                          PLAINTIFF SCOFIELD’S ALLEGATIONS

23              33.   Plaintiff Scofield is the subscriber and the sole user of the cell phone
24
     number ending with xxx-xxx-1521.
25

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27   28
          Id.
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                                                                                           16
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 1         34.    Plaintiff Scofield registered his cell phone number on the National Do
 2   Not Call Registry on June 12, 2007.
 3
           35.    On June 8, 2022, at 10:10 AM, Plaintiff Scofield received an
 4

 5   unsolicited text message from the phone number 949-603-3963 on his cell phone,
 6   from an agent Kate, who did not identify her last name, and Defendants’ names, the
 7
     business on whose behalf the solicitation text message was sent, in the solicitation
 8
 9   text message. The text message sought information about Plaintiff’s business so
10
     Defendant could solicit lending options to Plaintiff.
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           36.    On calling the phone number 949-603-3963, it is first answered by an
20
     automated voice message system which states, “Thanks for calling American
21

22   Business Services”, and tries to connect the caller to an agent. The call rings for a
23
     while and is then transferred to another voice message which informs that no agents
24
     are available and states, “Thanks again for calling Bankroll.”
25

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                                                                                       17
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 1              37.     The phone number Defendants used to send the solicitation text to the
 2   Plaintiff, 949-603-3963, is a California area code phone number. 29
 3
                38.     On June 15, 2022, at 3:23 PM, Plaintiff Scofield received another
 4

 5   unsolicited text message from the phone number 740-895-1297 on his cell phone,
 6   where the solicitor failed to identify their first or last name, and Defendants’ names,
 7
     the business on whose behalf the solicitation text message was sent, in the
 8
 9   solicitation text message. The text message sought information about Plaintiff’s
10
     business so Defendant could solicit lending options to Plaintiff.
11

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                39.     On calling the phone number 740-895-1397, it reaches Kate
20

21   Anderson’s voicemail, and is then transferred to a voice message system which
22   identifies as Defendant American Business Services.
23
                40.     On June 16, 2022, at 10:10 AM, Plaintiff Scofield received another
24

25   unsolicited text message from the phone number 949-603-3952 on his cell phone,
26

27   29
          https://www.allareacodes.com/949
28
                                                                                          18
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 1   from an agent Kate, who did not identify her last name, and Defendants’ names, the
 2   business on whose behalf the solicitation text message was sent, in the solicitation
 3
     text message. The text message sought information about Plaintiff’s business so
 4

 5   Defendant could solicit lending options to Plaintiff.
 6

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           41.    On calling this phone number 949-603-3952, it is answered by the same
15

16   voice message system which answers the phone number 949-603-3963, identifying
17
     both Defendant American Business Service and Defendant Bankroll. The call is first
18
     answered by an automated voice message system which states, “Thanks for calling
19

20   American Business Services”, and tries to connect the caller to an agent. The call
21
     rings for a while and is then transferred to another voice message which informs that
22

23
     no agents are available and states, “Thanks again for calling Bankroll.”

24         42.    Plaintiff Scofield did not request business loan quotes or any
25
     information from either of the Defendants, and never consented to receiving
26

27
     telemarketing text messages from or on behalf of the Defendants.

28
                                                                                       19
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 1         43.    Defendant, and/or the telephone solicitor who sent the telemarketing
 2   text messages to Plaintiff Scofield’s cell phone failed to identify the company name
 3
     and their full name in the solicitation text messages they sent to Plaintiff’s cell phone.
 4

 5         44.    The unauthorized telephonic sales calls that Plaintiff received from
 6   Defendants, as alleged herein, have harmed the Plaintiff in the form of annoyance,
 7
     nuisance, and invasion of privacy, and disturbed the use and enjoyment of his phone,
 8
 9   in addition to the wear and tear on the phone’s hardware (including the phone’s
10
     battery) and the consumption of memory on the phone.
11
           45.    Seeking redress for these injuries, Plaintiff Scofield, on behalf of
12

13   himself and Classes of similarly situated individuals, brings suit under the Telephone
14
     Consumer Protection Act, 47 U.S.C. § 227, et seq., and the Florida Telephone
15
     Solicitation Act, Fla. Stat. 501.059, which prohibit sending unsolicited
16

17   telemarketing calls and text messages to cell phone numbers that are registered on
18
     the DNC, and without identifying the full name of the telephone solicitor and the
19
     name of the company on whose behalf the solicitation was sent.
20

21                                 CLASS ALLEGATIONS
22
           46.    Plaintiff Scofield brings this action pursuant to Florida Rule of Civil
23
     Procedure 1.220(b)(2) and (b)(3), and seeks certification of the following Classes:
24

25
           TCPA Do Not Call Registry Class: All persons in the United States who
26         from four years prior to the filing of this action through class certification (1)
           either of the Defendants called or texted more than one time, (2) within any
27

28
                                                                                            20
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 1         12-month period, (3) where the person’s phone number had been listed on the
           National Do Not Call Registry for at least thirty days (4) for substantially the
 2         same reason Defendants texted Plaintiff.
 3         Florida Do Not Call Registry Class: All persons in Florida, who, on or after
 4         July 1, 2021, (1) whose telephone numbers appear on the then-current “no
           sales solicitation calls” list, and (2) who received unwanted telephonic sales
 5         call from or on behalf of the Defendant.
 6         Florida Unidentified Telephone Solicitor Class: All persons in Florida,
 7
           who, on or after July 1, 2021, (1) received an unsolicited telephonic sales call
           from the Defendant, (2) in which they failed to identify the full name of
 8         solicitor and the business on whose behalf the solicitation call was placed, as
 9
           in the solicitation received by the Plaintiff.

10
           47.    The following individuals are excluded from the Classes: (1) any Judge
11

12   or Magistrate presiding over this action and members of their families; (2)
13
     Defendant, their subsidiaries, parents, successors, predecessors, and any entity in
14
     which either Defendant or their parents have a controlling interest and their current
15

16   or former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons
17
     who properly execute and file a timely request for exclusion from the Classes; (5)
18
     the legal representatives, successors or assigns of any such excluded persons; and
19

20   (6) persons whose claims against the Defendant has been fully and finally
21
     adjudicated and/or released. Plaintiff Scofield anticipates the need to amend the
22
     Class definitions following appropriate discovery.
23

24         48.    Numerosity: On information and belief, there are hundreds, if not
25
     thousands of members of the Classes such that joinder of all members is
26
     impracticable.
27

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                                                                                        21
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 1         49.    Commonality and Predominance: There are many questions of law
 2   and fact common to the claims of the Plaintiff and the Classes, and those questions
 3
     predominate over any questions that may affect individual members of the Class.
 4

 5   Common questions for the Classes include, but are not necessarily limited to the
 6   following:
 7
           (a)    whether Defendants placed multiple text messages to Plaintiff and
 8
 9                members of the TCPA Do Not Call Registry Class and the Florida Do
10
                  Not Call Registry class without first obtaining consent to send the text
11
                  messages;
12

13         (b)    whether Defendants sent telemarketing text messages, to Plaintiff and
14
                  members of the Florida Unidentified Telephone Solicitor Class,
15
                  without identifying the first and last names of the solicitor who sent the
16

17                text, and/or the name of Defendants’ business;
18
           (c)    whether Defendant’s conduct violated the TCPA and the FTSA; and
19
           (d)    whether members of the Classes are entitled to treble damages based
20

21                on the willfulness of Defendant’s conduct.
22
           50.    Adequate Representation: Plaintiff will fairly and adequately
23
     represent and protect the interests of the Classes, and has retained counsel competent
24

25   and experienced in class actions. The Plaintiff has no interests antagonistic to those
26
     of the Classes, and Defendant have no defenses unique to the Plaintiff. The Plaintiff
27

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                                                                                         22
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 1   and his counsel are committed to vigorously prosecuting this action on behalf of the
 2   members of the Classes and have the financial resources to do so. Neither the
 3
     Plaintiff nor his counsel have any interest adverse to the Classes.
 4

 5         51.    Appropriateness: This class action is also appropriate for certification
 6   because the Defendants have acted or refused to act on grounds generally applicable
 7
     to the Classes and as wholes, thereby requiring the Court’s imposition of uniform
 8
 9   relief to ensure compatible standards of conduct toward the members of the Classes
10
     and making final class-wide injunctive relief appropriate. Defendants’ business
11
     practices apply to and affect the members of the Classes uniformly, and Plaintiff’s
12

13   challenge of those practices hinges on Defendants’ conduct with respect to the
14
     Classes as wholes, not on facts or law applicable only to Plaintiff Scofield.
15
     Additionally, the damages suffered by individual members of the Classes will likely
16

17   be small relative to the burden and expense of individual prosecution of the complex
18
     litigation necessitated by Defendants’ actions. Thus, it would be virtually impossible
19
     for the members of the Classes to obtain effective relief from Defendants’
20

21   misconduct on an individual basis. A class action provides the benefits of single
22
     adjudication, economies of scale, and comprehensive supervision by a single court.
23
                               FIRST CAUSE OF ACTION
24
                          Telephone Consumer Protection Act
25                            (Violations of 47 U.S.C. § 227)
       (On Behalf of Plaintiff Scofield and the TCPA Do Not Call Registry Class)
26

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 1         52.    Plaintiff repeats and realleges the prior paragraphs of this Complaint
 2   and incorporates them by reference.
 3
           53.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),
 4

 5   provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]
 6   residential telephone subscriber who has registered his or his telephone number on
 7
     the national do-not-call registry of persons who do not wish to receive telephone
 8
 9   solicitations that is maintained by the federal government.”
10
           54.    Any “person who has received more than one telephone call within any
11
     12-month period by or on behalf of the same entity in violation of the regulations
12

13   prescribed under this subsection may” may bring a private action based on a
14
     violation of said regulations, which were promulgated to protect telephone
15
     subscribers’ privacy rights to avoid receiving telephone solicitations to which they
16

17   object. 47 U.S.C. § 227(c).
18
           55.    Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to
19
     be initiated, telephone solicitations to telephone subscribers such as Plaintiff
20

21   Scofield and the TCPA Do Not Call Registry Class members who registered their
22
     respective telephone numbers on the National Do Not Call Registry, a listing of
23
     persons who do not wish to receive telephone solicitations that is maintained by the
24

25   federal government.
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 1            56.   Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the
 2   TCPA Do Not Call Registry Class received more than one telephone solicitation in
 3
     a 12-month period made by or on behalf of Defendant in violation of 47 C.F.R. §
 4

 5   64.1200, as described above. As a result of Defendant’s conduct as alleged herein,
 6   Plaintiff and the TCPA Do Not Call Registry Class suffered actual damages and,
 7
     under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in
 8
 9   damages for such violations of 47 C.F.R. § 64.1200.
10
              57.   To the extent Defendant’s misconduct is determined to be willful and
11
     knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of
12

13   statutory damages recoverable by the members of the TCPA Do Not Call Registry
14
     Class.
15
                            SECOND CAUSE OF ACTION
16
                          Florida Telephone Solicitation Act
17                         (Violations of Fla. Stat. § 501.059)
      (On Behalf of Plaintiff Scofield and the Florida Do Not Call Registry Class)
18

19            58.   Plaintiff repeats and realleges paragraphs 1 through 51 of this
20
     Complaint and incorporates them by reference.
21
              59.   Plaintiff brings this claim individually and on behalf of the Do Not Call
22

23   Registry Class Members against the Defendants.
24
              60.   It is a violation of the FTSA to “make or cause to be made any
25
     unsolicited telephonic sales call to any residential, mobile, or telephonic paging
26

27   device telephone number if the number for that telephone appears in the then-current
28
                                                                                          25
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 1   quarterly listing published by the department.” Fla. Stat. § 501.059(4)
 2         61.    A “telephonic sales call” is defined as a “telephone call, text message,
 3
     or voicemail transmission to a consumer for the purpose of soliciting a sale of any
 4

 5   consumer goods or services, soliciting an extension of credit for consumer goods or
 6   services, or obtaining information that will or may be used for the direct solicitation
 7
     of a sale of consumer goods or services or an extension of credit for such purposes.”
 8
 9   Fla. Stat. § 501.059(1)(i).
10
           62.    In violation of the FTSA, Defendants made and/or cased to be made
11
     unsolicited telephone sales calls to Plaintiff, and other members of the Do Not Call
12

13   Registry Class despite their telephone numbers appearing on the quarterly listing
14
     published by the department.
15
           63.    As a result of Defendants’ conduct, and pursuant to § 501.059(10)(a)
16

17   of the FTSA, Plaintiff and Class members were harmed and are each entitled to a
18
     minimum of $500.00 in damages for each violation. Plaintiff and the Class members
19
     are also entitled to an injunction against future calls. Id.
20

21                           THIRD CAUSE OF ACTION
                           Florida Telephone Solicitation Act
22
                           (Violations of Fla. Stat. § 501.059)
23      (On Behalf of Plaintiff Scofield and the Unidentified Telephone Solicitor
                                          Class)
24
          64. Plaintiff repeats and realleges paragraphs 1 through 51 of this
25
     Complaint and incorporates them by reference.
26

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 1         65.     Plaintiff brings this claim individually and on behalf of the
 2   Unidentified Telephone Solicitor Class Members against Defendants.
 3
           66.    The FTSA requires “any telephone solicitor who makes an unsolicited
 4

 5   telephonic sales call to a residential, mobile, or telephonic paging device telephone
 6   number” to mandatorily “identify himself or herself by his or her true first and last
 7
     names and the business on whose behalf he or she is soliciting immediately upon
 8
 9   making contact by telephone with the person who is the object of the telephone
10
     solicitation.” Fla. Stat. § 501.059(2)
11
           67.    A “telephonic sales call” is defined as a “telephone call, text message,
12

13   or voicemail transmission to a consumer for the purpose of soliciting a sale of any
14
     consumer goods or services, soliciting an extension of credit for consumer goods or
15
     services, or obtaining information that will or may be used for the direct solicitation
16

17   of a sale of consumer goods or services or an extension of credit for such purposes.”
18
     Fla. Stat. § 501.059(1)(i).
19
           68.    In violation of the FTSA, Defendants failed to identify the name of the
20

21   telephone solicitor or the business on whose behalf those unsolicited telephonic sales
22
     calls were made and/or caused to be made to the Plaintiff, and other members of the
23
     Unidentified Telephone Solicitor Class.
24

25         69.    As a result of Defendants’ conduct, and pursuant to § 501.059(10)(a)
26
     of the FTSA, Plaintiff and Class members were harmed and are each entitled to a
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                                                                                         27
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 1   minimum of $500.00 in damages for each violation. Plaintiff and the Class members
 2   are also entitled to an injunction against future calls. Id.
 3
                                   PRAYER FOR RELIEF
 4

 5         WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for
 6   the following relief:
 7
             a)   An order certifying this case as a class action on behalf of the Classes
 8
 9                as defined above; appointing Plaintiff as the representative of the
10
                  Classes; and appointing his attorneys as Class Counsel;
11
             b)   An award of damages and costs;
12

13           c)   An order declaring that Defendants’ actions, as set out above, violate
14
                  the TCPA and the FTSA;
15
             d)   An injunction requiring Defendants to cease all unsolicited calling
16

17                activity, and to otherwise protect the interests of the Classes; and
18
             e)   Such further and other relief as the Court deems just and proper.
19
                                        JURY DEMAND
20

21         Plaintiff Scofield requests a jury trial.
22
                                              MICHAEL SCOFIELD, individually and
23
                                              on behalf of all others similarly situated,
24

25   DATED 8/12/2022                          By: /s/ Rachel E. Kaufman
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                                                                                         28
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 5
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 6                                   Classes
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